 

Case 3:20-cr-00451-N USSERD EATER AIST RICH CQERT) of 1 PagelD 14

NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

 

 

 

 

 

 

DALLAS DIVISION

JUDGE: REBECCA RUTHERFORD

DEPUTY CLERK: L. Price COURT REPORTER/TAPE NO: Todd Anderson

LAW CLERK: USPO/PTSO:

INTERPRETER: COURT TIME: [0:5")- [[:O]

AM. [| P.M. DATE: December 02, 2020 '

LIMAG. NO. ODIST. CR. NO. 3:20-cr-00451-N USDJ Judge David C Godbey

UNITED STATES OF AMERICA § V aboot “hols , AUSA
§

Vv. § O
§ . : Af

CHARLES DAVID BURROW (1) § COUNSEL FOR DEFENDANTS APPT — (A), Retd — (R), FPD - (F)

 

(WNITIAL APPEARANCE DIDENTITY CIBOND HEARING CIPRELIMINARY HEARING

(1) DETENTION HEARING LICOUNSEL DETERMINATION HEARING LIREMOVAL HEARING CIEXTRADITION HEARING

(] HEARING CONTINUED ON CASE NO. CIOTHER DISTRICT CIDIVISION

4 DATE OF FEDERAL ARREST/CUSTODY: 12/02/2020 LISURRENDER

CJ) RULE 5/32 LLAPPEARED ON WRIT

,)/ DEFT FIRST APPEARANCE. DEFT ADVISED OF RIGHTS/CHARGES LJPROBATION/SUPERVISED RELEASE VIOLATOR
EFT FIRST APPEARANCE WITH COUNSEL.

(] DEFT LIMW (MATERIAL WITNESS) APPEARED LCIWITH CIWITHOUT COUNSEL

aA REQUESTS APPOINTED COUNSEL.

[ FINANCIAL AFFIDAVIT EXECUTED.

C] ORDER APPOINTING FEDERAL PUBLIC DEFENDER.

CARIVATE COUNSEL APPOINTED

(1 DEFT HAS RETAINED COUNSEL

[] ARRAIGNMENT SET [SETENTION HEARING SET [Z

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C) PRELIMINARY HEARING SET LIBOND HEARING SET
(1 COUNSEL DETERMINATION HEARING SET
C1) IDENTITY/REMOVAL HEARING SET
(1 BOND CISET CJIREDUCED TO $ CICASH 1 SURETY (110% 0 PR KJUNS (13RD PTY OIMW
woe BOND SET AT THIS TIME, _ | DAY DETENTION ORDER TO BE ENTERED.
ORDER OF TEMPORARY DETENTION/COMMITMENT PENDING HEARING ENTERED.
™, ORDER OF DETENTION PENDING TRIAL ENTERED.
CL] DEFT ADVISED OF CONDITIONS OF RELEASE.
CL] BOND EXECUTED LIDEFT LIMW RELEASED LISTATE AUTHORITIES LIINS
LLBEFT LIMW REMANDED TO CUSTODY.
(J DEFT ORDERED REMOVED TO ORIGINATING DISTRICT.
(1) WAIVER OF CIPRELIMINARY HEARING CIRULE 5/32 HEARING LIDETENTION HEARING
DIDERT FAILED TO APPEAR. ORAL ORDER FOR ISSUANCE on mENCH Wallasey DRONE OUT
; RWORTHERN DISTRICT OF TEXAS

Arb. RCRIM.F TO NOTIFY FOREIGN CONSULAR. FILED

ED. R. CRIM. P. 5(f)(1) ORAL ORDER ISSUED. WRITTEN ORDER TO FOLYOW.

 

 

 

 

Cl REMARKS: UEC - 9

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CLERK, U.S. DISTRICT CO /
ws
Deputy

 

 

 

 

 

 

 

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